                    Case 18-05837            Doc 1       Filed 11/15/18 Entered 11/15/18 20:24:36                              Desc Main
                                                            Document Page 1 of 19
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cafe Holdings Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4324 Wade Hampton Blvd., Ste. B
                                  Taylors, SC 29687
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Greenville                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.fatz.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                 Document Page 2 of Case
                                                                                      19 number (if known)
          Cafe Holdings Corp.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                            Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                             Document Page 3 of Case
                                                                                  19 number (if known)
         Cafe Holdings Corp.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                            Document Page 4 of Case
                                                                                 19 number (if known)
          Cafe Holdings Corp.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 15, 2018
                                                  MM / DD / YYYY


                             X   /s/ Eric Easton                                                         Eric Easton
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Michael H. Weaver                                                    Date November 15, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Michael H. Weaver
                                 Printed name

                                 McNair Law Firm, P.A.
                                 Firm name

                                 P.O. Box 11390
                                 Columbia, SC 29211
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-799-9800                  Email address      mweaver@mcnair.net

                                 Dist. Ct. ID #:9847 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor
                                                           Document Page 5 of Case
                                                                                19 number (if known)
           Cafe Holdings Corp.
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                   Chapter     11
                                                                                                               Check if this an
                                                                                                               amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Cafe Enterprises, Inc.                                                  Relationship to you     Affiliate
District   District of South Carolina                 When                         Case number, if known
Debtor     CES Gastonia LLC                                                        Relationship to you     Affiliate
District   District of South Carolina                 When                         Case number, if known
Debtor     CES Sportz LLC                                                          Relationship to you     Affiliate
District   District of South Carolina                 When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                           page 5
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

                                                                    Chapter 11
In re:
                                                                    Case No. 18-_________(___)
                                         1
CAFE HOLDINGS CORP., et al.,
                                                                    (Joint Administration Requested)
                                    Debtors.



                           CONSOLIDATED LIST OF CREDITORS
                         HOLDING 30 LARGEST UNSECURED CLAIMS

        The following is a list of creditors holding the thirty (30) largest unsecured claims, on a
consolidated basis, against the above-captioned debtors-in-possession that commenced Chapter 11
cases in this Court on the date hereof (collectively, the “Debtors”). This list has been prepared
from the unaudited books and records of the Debtors. This list reflects amounts from the Debtors’
books and records as of November 12, 2018. The list is prepared in accordance with FED. R.
BANKR. P. 1007(d) for filing in the Debtors’ Chapter 11 cases. This list does not include (a)
persons who come within the definition of “insider” set forth in 11 U.S.C. § 101 or (b) secured
creditors unless the value of the collateral is such that the unsecured deficiency places the creditor
among the holders of the thirty (30) largest unsecured claims. The information herein shall not
constitute an admission of liability by, nor is binding on, the Debtors. All claims are subject to
customary offsets, rebates, discounts, reconciliations, credits and adjustments, which are not
reflected on this list.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Cafe Holdings Corp. (7910); Cafe Enterprises, Inc. (4946); CE Sportz LLC (2009); and CES Gastonia LLC
    (0863). The location of the Debtors’ corporate headquarters is 4324 Wade Hampton Blvd., Suite B, Taylors,
    South Carolina 29687.


1893124v4
                Case 18-05837             Doc 1       Filed 11/15/18 Entered 11/15/18 20:24:36                          Desc Main
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Fill in this information to identify the case:

Debtor name: Café Holdings Corp., et al.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                    12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete        Name, telephone number,       Nature of the    Indicate if   Amount of unsecured claim
    mailing address, including zip       and email address of creditor claim            claim is      If the claim is fully unsecured, fill in only unsecured
    code                                 contact                       (for example,    contingent,   claim amount. If claim is partially secured, fill in
                                                                       trade debts,     unliqui-      total claim amount and deduction for value of
                                                                       bank loans,      dated, or     collateral or setoff to calculate unsecured claim.
                                                                       professional     disputed
                                                                       services, and                  Total claim, if    Deduction for      Unsecured
                                                                       government                     partially          value of           claim
                                                                       contracts)                     secured            collateral or
                                                                                                                         setoff

1   SYSCO                                Jeff Kestner                  Trade Debt         ¨C                                                $2,784,619.66
    131 Sysco Court                      Jeffery.Kestner@sysco.com
    Columbia SC 29209                    Tel: 803-239-4172                                þU
                                         Fax: 877-242-6411
                                                                                          ¨D
2   SYSCO-Charlotte                      Tom Hayes                     Trade Debt         ¨C                                                $1,194,616.28
    Attn: Cashier                        Hayes.Tom@cha.sysco.com
    PO Box 96                            Tel: 704-723-6016                                þU
    Concord NC 28026                     Fax: 704-723-6028
                                                                                          ¨D
3   Store Master Funding V, LLC          Lyena Hale                    Rent               ¨C                                                $881,860.38
    8501 E Princess Drive                lhale@storecapital.com
    Suite 190                                                                             þU
    Scottsdale AZ 85255
                                                                                          ¨D
4   Old Mill Stream                      Bill Burton                   Rent               ¨C                                                $858,089.51
    PO Box 24169                         Bill@omsrealestate.com
    Greenville SC 29616                  Tel: 864-360-4105                                þU
                                                                                          ¨D
5   Store Master Funding I, LLC          Lyena Hale                    Rent               ¨C                                                $460,923.60
    8501 E Princess Drive                lhale@storecapital.com
    Suite 190                                                                             þU
    Scottsdale AZ 85255
                                                                                          ¨D
6   Infinity Marketing Solutions, Inc.   Tony Williams                 Trade Debt         ¨C                                                $388,510.39
    874 S Pleasntburg Drive              info@infinitymkt.com
    Suite A                              Tel: 864-235-1700                                ¨U
    Greenville SC 29607                  Fax: 864-235-3100
                                                                                          þD
7   MRB, LLC                             Valeen Brown                  Rent               ¨C                                                $245,567.50
    PO Box 161413                        VBrown@JRogersGroup.com
    Boiling Springs SC 29316             Tel: 864-327-3679                                þU
                                                                                          ¨D
8   Freshpoint                           Kim Treat                     Trade Debt         ¨C                                                $220,288.31
    1200 Oakley Industrial Blvd.         Kim.Treat@FreshPoint,com
    Suite B                              Tel: 770-305-8574                                þU
    Fairburn GA 30213                    Fax: 770-305-8477
                                                                                          ¨D

Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                           Page 1
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Debtor    Café Holdings Corp., et al.                                                                        Case number (if known) 18-_____

    Name of creditor and complete     Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
    mailing address, including zip    and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
    code                              contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                    trade debts,    unliqui-      total claim amount and deduction for value of
                                                                    bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                    professional    disputed
                                                                    services, and                 Total claim, if    Deduction for      Unsecured
                                                                    government                    partially          value of           claim
                                                                    contracts)                    secured            collateral or
                                                                                                                     setoff

9   Fishbowl, Inc.                    Douglas Poppen                 Trade Debt       þC                                                $213,293.87
    PO Box 740513                     dpoppen@fishbowl.com
    Atlanta GA 30374-0513             Tel: 703-836-3421                               ¨U
                                                                                      ¨D
10 M&R Investors                      Valeen Brown                   Rent             þC                                                $191,781.65
   PO Box 161413                      VBrown@JRogersGroup.com
   Boiling Springs SC 29316           Tel: 864-327-3679                               þU
                                                                                      ¨D
11 Koury Corp                         Alex Munoz                     Rent             ¨C                                                $165,066.02
   2275 Vanstory Street               AMunoz@kourycorp.com
   Suite 200                          Tel: 336-299-9200                               þU
   Greensboro NC 27403
                                                                                      ¨D
12 Center Hills, LLC                  Nancy Hough
                                      nancy.hough@clmnholdings.com
                                                                     Rent             ¨C                                                $160,081.93
   1901 Sam Snead Drive
   Braselton GA 30517                 Tel: 619-940-7154                               þU
                                                                                      ¨D
13 Gary & Margaret Smith              Gary Smith                     Rent             ¨C                                                $150,176.00
   123 Pecan Lane                     Tel: 803-622-4118
   Cayce SC 29033                     Fax: 803-822-8477                               þU
                                                                                      ¨D
14 Valassis Digital                   Rich Melin                     Trade Debt       þC                                                $138,735.31
   Maxpoint Interactive, Inc.         billing@maxpoint.com
   PO Box 360668                      Tel: 919-389-9002                               ¨U
   Pittsburgh PA 15251-6668
                                                                                      ¨D
15 Henderson Crossing                 Bill Hale                      Rent             þC                                                $138,000.00
   PO Box 1855                        Tel: 828-242-4100
   Flat Rock NC 28731                 Fax: 828-697-2208                               ¨U
                                                                                      ¨D
16 Hamilton Chase-Citadel, LLC        Justin Dean                    Rent             þC                                                $133,065.84
   PO Box 468                         justinhdean@gmail.com
   Solvang CA 93464                   Tel: 626-824-5050                               ¨U
                                                                                      ¨D
17 Tryon Sisson                       Ty Sisson                      Rent             ¨C                                                $124,750.00
   1279 Westwind Circle               tysisson@roadrunner.com
   Westlake Village CA 91361          Tel: 805-379-3151                               þU
                                      Fax: 805-379-4145
                                                                                      ¨D
18 B&T Sand Company                   Joel Tyson                     Rent             ¨C                                                $124,601.50
   PO Box 84007                       joeltyson@labarrier.com
   Lexington SC 29073                 Tel: 803-356-2351                               þU
                                                                                      ¨D
19 Restaurant Technologies, Inc.      Derek Zschokke                 Trade Debt       ¨C                                                $118,439.05
   12962 Collections Center Drive     dezschokke@rti-inc.com
   Chicago IL 60693                   Tel: 651-444-6083                               þU
                                                                                      ¨D
20 Carolina Child Care Properties     Randy Davis                    Rent             ¨C                                                $110,385.08
   887 Johnnie Dodds Blvd.            rdavis@treellc.com
   Mt. Pleasant SC 29464              Tel: 843-469-5210                               þU
                                                                                      ¨D


Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                         Page 2
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Debtor   Café Holdings Corp., et al.                                                                            Case number (if known) 18-_____

    Name of creditor and complete      Name, telephone number,       Nature of the     Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim             claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,     contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,      unliqui-      total claim amount and deduction for value of
                                                                     bank loans,       dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional      disputed
                                                                     services, and                   Total claim, if    Deduction for      Unsecured
                                                                     government                      partially          value of           claim
                                                                     contracts)                      secured            collateral or
                                                                                                                        setoff

21 Pepper Hamilton LLP                 Bruce Fenton                     Professional     ¨C                                                $107,276.81
   Attn: Accounting Dept.              fenton@pepperlaw.com             Services
   3000 Two Logan Square               Tel: 215-981-4000                                 þU
   Philadelphia PA 19103-2799
                                                                                         ¨D
22 Beetle Enterprises                  Bob Bailey                       Rent             þC                                                $101,841.96
   1439 Vintage Drive                  georgerbailey@bellsouth.net
   Watkinsville GA 30677               Tel: 404-312-9181                                 ¨U
                                                                                         ¨D
23 Winds Crossing                      Vinay Gudena                     Rent             ¨C                                                $97,300.00
   7711 Briardenn Dr                   vinaygvk@gmail.com
   Summerfield NC 27358                Tel: 843-628-9173                                 þU
                                                                                         ¨D
24 Geoffrey Stuchman                   Lea Stutchman                    Rent             ¨C                                                $96,783.12
   16124 Greenwood Lane                leahstutchman@yahoo.com
   Monte Sereno CA 95030               Tel: 408-313-6718                                 þU
                                                                                         ¨D
25 Robinson, Bradshaw & Hinson         robinsonbradshaw.com             Professional     ¨C                                                $96,781.88
   101 N Tryon Street                  Tel: 704-377-2536                Services
   Suite 1900                                                                            þU
   Charlotte NC 28246
                                                                                         ¨D
26 Duke Power                          www.duke-energy.com              Trade Debt       ¨C                                                $93,074.27
   PO Box 70516                        Tel: 800-653-5307
   Charlotte NC 28272-0515                                                               þU
                                                                                         ¨D
27 PP Gaston Mall                      Charlie Pearson
                                       cpearson@pearsonproperties.net
                                                                        Rent             ¨C                                                $90,000.00
   1422 Burtonwood Drive
   Suite 200                           Tel: 704-867-5002                                 þU
   Gastonia NC 28054
                                                                                         ¨D
28 Thrift Brothers                     Tim Hydrick                      Rent             ¨C                                                $89,750.00
   PO Box 1293                         timhydrick@gmail.com
   Seneca SC 29679                     Tel: 864-235-4040                                 þU
                                                                                         ¨D
29 7420 Broad River Road LLC           Barbara Hunter              Rent                  ¨C                                                $87,081.50
   1525 Ashley River Road              barbarahunter2248@gmail.com
   Charleston SC 29407                                                                   þU
                                       Tel: 843-270-8899
                                                                                         ¨D
30 NCR Corporation                     sm250689@ncr.com                 Trade Debt       ¨C                                                $84,143.76
   PO BOX 198755                       Tel: 770-576-2791
   Atlanta GA 30384-8755                                                                 þU
                                                                                         ¨D




Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                           Page 3
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     Case 18-05837            Doc 1      Filed 11/15/18 Entered 11/15/18 20:24:36                       Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA

                                                                       Chapter 11
In re:
                                                                       Case No. 18-_________(___)
                                            1
CAFE HOLDINGS CORP., et al.,
                                                                       (Joint Administration Requested)
                                       Debtors.


           LIST OF EQUITY SECURITY HOLDERS FOR CAFE HOLDINGS CORP.

        The following is the list of equity security holders of Debtor, Cafe Holdings Corp., which
is prepared in accordance with Federal Rule of Bankruptcy Procedure 1007 (a)(3).

    Name of equity security              # / % of          # / % of Class            # / % of         # / % of Class
    holder and last known                Common             A Preferred              Class B           C Preferred
      address or place of              Stock Issued            Stock                Preferred             Stock
           business                     (restricted                                   Stock
                                            and
                                       unrestricted)

    Milestone Partners III, L.P.
    555 East Lancaster Ave.,            2,436,000.00           119,364.00           23,925.005            36,250.000
    Suite 500
    Radnor, PA 19087                       46.08%                51.18%               60.98%                56.98%

    Milestone Partners III, L.P. 2
    555 East Lancaster Ave.              924,000.00            45,276.00             9,075.005            13,750.000
    Suite 500
    Radnor, PA 19087                       17.48%                19.41%               23.13%                21.61%

    Triangle Capital
                                                                                                          10,000.000

                                                                                                            15.72%


    Madison Capital Funding LLC
    30 S Wacker Dr.                      200,000.00             9,800.00             2,110.150            3,615.975
    Suite 3700
    Chicago, IL 60606                       3.78%                4.20%                 5.38%                5.68%




1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
       Cafe Holdings Corp. (7910); Cafe Enterprises, Inc. (4946); CE Sportz LLC (2009); and CES Gastonia LLC
       (0863). The location of the Debtors’ corporate headquarters is 4324 Wade Hampton Blvd., Suite B, Taylors,
       South Carolina 29687.

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Name of equity security            # / % of        # / % of Class    # / % of   # / % of Class
holder and last known              Common           A Preferred      Class B     C Preferred
  address or place of            Stock Issued          Stock        Preferred       Stock
       business                   (restricted                         Stock
                                      and
                                 unrestricted)
Pedro Garcia
                                   12,000.00             588.00

                                     0.23%               0.25%
David and Suzanne Hadley
Family Trust dated 12/18            8,000.00             392.00

                                     0.15%               0.17%

Bill Burton
P.O. Box 24169                     480,000.00          23,520.00    4,125.000
Greenville, SC 29616
                                     9.08%              10.08%       10.51%

Steve Bruce
415 Watercrest Court               268,894.00           9,800.00
Inman, SC 29349
                                     5.09%               4.20%

Richie Cannon
28 Coastline Drive                 294,823.00           8,820.00
Inman, SC 29349
                                     5.58%               3.78%

Eric Holman
148 Amber Drive                    187,412.00           6,370.00
Inman, SC 29349
                                     3.55%               2.73%
Tabitha Sprouse
616 Old Iron Works Rd.             108,706.00           3,920.00
Spartanburg, SC 29302
                                     2.06%               1.68%
Steve Corson
519 St. Helena Ct.                 131,765.00           2,940.00
Roebuck, SC 29376
                                     2.49%               1.26%
Gerald Johnson
228 Williamstown Way               48,611.80            1,960.00
Columbia, SC 29212
                                     0.92%               0.84%
Linda Kiehl
415 Burley Glen Dr.                 2,870.60
Inman, SC 29349
                                     0.05%




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Name of equity security             # / % of        # / % of Class    # / % of   # / % of Class
holder and last known               Common           A Preferred      Class B     C Preferred
  address or place of             Stock Issued          Stock        Preferred       Stock
       business                    (restricted                         Stock
                                       and
                                  unrestricted)
Chuck Faust
63 Westview Ave.                     8,611.80
Greenville, SC 29609
                                      0.16%


Sara Anderson
513 Wicked Stick Court              14,353.00
Inman, SC 29349
                                      0.27%

Tony Wright
P.O. Box 603                        14,353.00
Drayton, SC 29333-0603
                                      0.27%

Lynne Burton
P.O. Box 24169                      10,000.00             490.00
Greenville, SC 29616
                                      0.19%               0.21%

Jim Bails
3775 South Mill Site Lane           59,884.20
Boise, ID 83716
                                      1.13%

Fred Grant
                                    14,071.56

                                      0.27%
Jane Melvin
167 Lowell Avenue                   28,014.00
Glen Elyn, IL 60137
                                      0.53%
Larry Zwain
920 Oriental Garden Rd.              5,602.80
Jacksonville, FL 32207
                                      0.11%
Brian Harrington
514 Wyndmoor Ave                    28,014.00
Wyndmor, PA 19038
                                      0.53%




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